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                                                            October 24, 2019
                                                        CLERK, U.S. DISTRICT CLERK
                                                        WESTERN DISTRICT OF TEXAS
                                                                 BriannaWinter
                                                        BY ________________________
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